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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


E. JEAN CARROLL,
                               Plaintiff,
               v.
                                                          No. 1:20-cv-07311
UNITED STATES OF AMERICA,
                               Defendant.




                                  NOTICE OF APPEARANCE

To the Clerk of this court and all parties of record:

       Please enter my appearance as counsel for Plaintiff E. Jean Carroll in the above-captioned

action. I certify that I am admitted to practice in this Court.

       This appearance is entered without conceding the jurisdiction of the federal courts or the

propriety of the removal petition. We reserve all rights.

Dated: New York, New York
       September 8, 2020

                                                    /s/ Joshua Matz
                                                    Joshua Matz
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